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EXHIBIT C
Case 1:25-cv-00178-CFC Document 20-3 Filed 04/14/25 Page 2 of 3 PagelD #: 428
Certificate-of Registration

This Certificate issaed-under the seal of the Copyright : aS
Officé'in-aceordance with title 17, United States Code, 5
attests:that registration has been made for the work

identified below. Theinformatiomon this certificate has Registration Number

been made apart of the Copyright Office records. TX 9-407-381

5 = = Effective Date of Registration:
Vi tia. Vib nitlen July 01, 2024
Registration Decision Date:

United States Register of Copyrights and Director July 09,2024

Title

Title of WorkK=Anaconda Distribution andAssociated: Packages Release-2024.02-01

Completion/Publication

Year of Completion: 2024
Date of Ist'Publication: February 26, 2024
Nation of I Publication: United States

Author
e Author: Anaconda, Inc.
Author Created: computer program
Work made for hire: Yes
Domiciled in: United States
Copyright Claimant ee

Copyright Claimant: Anaconda, Inc. aoe
1108 Lavaca Street, Suite 110-645, Austin, TX,-78701

Limitation of copyright-claim

Material excluded from this:claim:=~ Third-party computer programs

New material incladed inclaim:- “computer-program

-€ertification

Name:*° Jessica Reeves
; : Date: July 01, 2024
Applicant's Tracking Number: 077807-0001

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Correspondence: Yes

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